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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF VIRGINIA
                             DANVILLE DIVISION


  UNITED STATES OF AMERICA                :
                                          :
  v.                                      :            Case No. 4:04CR70083
                                          :
  ANTHOINE PLUNKETT                       :



          UNITED STATES' RESPONSE TO PETITIONER'S MOTION
        FOR RELIEF PURSUANT TO TITLE 28, UNITED STATES CODE,
                            SECTION 2255

        Anthoine Plunkett filed a second or successive Motion to Dismiss pursuant to

  28 U.S.C. § 2255 on March 31, 2021. ECF No. 967. The Court of Appeals granted

  authorization for a single claim to proceed, specifically whether Plunkett’s conviction

  under 18 U.S.C. §924(j)—use of firearm during and in relation to a crime of violence,

  interstate stalking, resulting in death—remains valid after United States v. Davis,

  139 S.Ct. 2319 (2019), where the crime of violence is interstate stalking. ECF No. 966;

  see also Aug. 4, 2021 Mem. Op. and Order, at ECF No. 983. Given the facts if this

  case and for the reasons set forth below, the United States does not contest Plunkett’s

  Davis claim.



                       FACTS AND PROCEDURAL HISTORY

        The facts and procedural history of Plunkett’s case are set out in the Court of

  Appeals decision affirming Plunkett’s conviction at United States v. Bodkins, 274

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  Fed.Appx. 294 (4th Cir. 2008). Of particular relevance to the issue in this Petition is

  that Plunkett, who was a drug dealer, hired Larry Bodkins and Darel Taylor to

  murder Tyree Wimbush, believing Wimbush to be a confidential informant for local

  police. 274 Fed.Appx. at 296. On July 22, 1999, Bodkins and Taylor traveled from

  Johnson City, Tennessee to Danville, Virginia, where they shot Wimbush three times,

  killing him. Id. They were indicted by the federal grand jury on February 17, 2005,

  as follows:

                  Conspiracy to travel in interstate
                  commerce with the intent to commit
     Count 1      murder for pecuniary gain, resulting in 18 U.S.C. § 1958(a)
                  death

                  Travel in interstate commerce with the
                  intent to commit murder for pecuniary
     Count 2      gain & aiding and abetting, resulting       18 U.S.C. §§ 2, 1958(a)
                  in death

                  Conspiracy to travel in interstate
                  commerce with the intent to commit
     Count 3                                                  18 U.S.C. § 371
                  interstate stalking

                  Travel in interstate commerce with the
     Count 4      intent to commit interstate stalking        18 U.S.C. §§ 2, 2261A(1)

                  Use, and aiding and abetting the use,
                  of a firearm of a firearm during and in
     Count 5      relation to a crime of violence resulting   18 U.S.C. §§ 924(c), 924(j)
                  in death


  ECF No. 132.

        Plunkett was convicted by a jury on September 2, 2005, on all five counts. ECF

  No. 561.

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         Counts 1, 2, and 5 each carried a mandatory minimum sentence of life

  imprisonment. 18 U.S.C. § 1958(a); 18 U.S.C. § 924(j). Count 3 carried a maximum

  penalty of 5 years. 18 U.S.C. § 371. Count 4 carried a mandatory minimum sentence

  of life imprisonment “if death results,” otherwise, absent another aggravating factor,

  the maximum penalty was five years. 18 U.S.C. § 2261(b).

         Based upon the jury verdict, Plunkett was sentenced on June 12, 2006, to 60

  months on Count 3, concurrent life sentences on Counts 1, 2, and 4, and a consecutive

  life sentence on Count 5, plus five years supervised release. ECF Nos. 748, 749.

         Plunkett appealed, and the Fourth Circuit affirmed his conviction. 274

  Fed.Appx. at 302. He filed for a petition for writ of certiorari, which was denied by

  the Supreme Court on December 1, 2008. Plunkett v. United States, 555 U.S. 1050

  (U.S. Dec. 1, 2008).

         Plunkett filed a previous § 2255 petition on December 2, 2009, and a

  Memorandum in Support on August 23, 2010. ECF No. 845, 859; see also Mem. Op.,

  at 2-3, June 6, 2011; ECF No. 894 (listing claims raised by Plunkett). The United

  States filed a motion to dismiss in response on January 21, 2011. ECF No. 875. The

  petition was denied by the Honorable Glen E. Conrad on June 6, 2011. ECF Nos. 893,

  895.

         Authorization for the instant petition was granted by the Court of Appeals, and

  the petition filed on March 31, 2021. ECF Nos. 966, 967. Although Plunkett raised

  other claims in his proposed § 2255 petition, authorization from the Court of Appeals

  was limited to whether “his conviction under 18 U.S.C. § 924(j) is invalid in light of
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  United States v. Davis, 139 S.Ct. 2319 (2019).” ECF No. 966 at 1. The Court concluded

  “Plunkett has not made the requisite showing as to the remainder of his proposed

  grounds for relief.” Id.

         Plunkett did not raise the claim in his current petition in the district court, on

  appeal, or in his previous § 2255.



                             DISCUSSION OF COUNT FOUR

         In preparing its Response to Plunkett’s petition, the United States has

  determined there appears to be an Apprendi error in Count Four. Plunkett has not

  raised this claim nor gained authorization to raise it from the Court of Appeals. Given

  the verdicts and sentences imposed on the other counts, this Court should decline to

  recognize the error.

         Plunkett was sentenced to life imprisonment on the interstate stalking charge

  in Count Four. The applicable penalty provision provides for mandatory life

  imprisonment “if death results.” 18 U.S.C. § 2261(b)(1). If permanent disfigurement

  or life-threatening bodily injury results, the maximum penalty is 20 years; if serious

  bodily injury results, the maximum penalty is 10 years. 18 U.S.C. § 2261(b)(2)-(3).

  Absent one of those aggravating circumstances, the maximum penalty is 5 years. 18

  U.S.C. § 2261(b)(5). Because of each aggravating circumstance increases the

  maximum penalty (and is not the fact of a prior conviction), it must be charged in the

  indictment and proven to the jury. Apprendi, 530 U.S. at 490. Despite the life

  sentence Plunkett received, the indictment did not in fact charge “if death of the
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  victim results.” Thus, it appears there is an Apprendi error as to that count.

        Apprendi errors are not normally retroactive on collateral review. United

  States v. Sanders, 247 F.3d 139 (4th Cir. 2001). However, Apprendi was the law at

  the time of Plunkett’s indictment and conviction, and thus applied to his case from

  the outset. Whorton v. Bockting, 549 U.S. 406 (2007) (“an old rule applies both on

  direct and collateral review”).

        However, this Court can decline to review and correct that error as it will have

  no impact on Plunkett’s sentence.

        As the Fourth Circuit has explained, the concurrent sentence doctrine permits

  the Court to decline to review and correct a concurrent sentence when its alteration

  would not affect the other valid concurrent sentences:

        The “concurrent sentence doctrine” authorizes a court to leave the
        validity of one concurrent sentence unreviewed when another is valid
        and carries the same or greater duration of punishment so long as there
        is no substantial possibility that the unreviewed sentence will adversely
        affect the defendant or, stated otherwise, so long as it can be
        foreseen with reasonable certainty that the defendant will suffer no
        adverse collateral consequences by leaving it unreviewed.

  United States v. Charles, 932 F.3d 153, 155 (4th Cir. 2019).

        In addition, the Court has the authority to decline to recognize Apprendi errors

  where the verdict “necessarily established” the defendant was guilty of the omitted

  aggravating factor. United States v. Promise, 255 F.3d 150, 162 (4th Cir. 2001). The

  verdict in this case did necessarily establish Plunkett’s guilt on the death-results

  element. Counts One, Two, and Five arose from the same course of conduct. The jury

  found (and the Court of Appeals affirmed) that death resulted in Counts One and Two
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  and found intentional murder in Count Five. Thus, the verdict unequivocally

  establishes that death resulted from the interstate stalking as well.

        Addressing an Apprendi error on Count Four will have no impact on the

  mandatory life sentences imposed on Counts One and Two. And, alternatively, the

  jury’s guilty verdicts on Counts One, Two, and Five establish beyond a reasonable

  doubt that death resulted from the interstate stalking. This Court can—and should—

  decline to correct the sentence on Count Four.



                                LEGAL BACKGROUND

        After conviction and exhaustion of appeals, the Court is “entitled to presume

  that [a defendant] stands fairly and finally convicted.” United States v. Frady, 456

  U.S. 152, 164 (1982). In order to overcome this presumption and obtain relief on a

  motion under 28 U.S.C. § 2255, a defendant must establish an error of “constitutional

  or jurisdictional magnitude” or an error which “could not have been raised on direct

  appeal, and if condoned, would result in a complete miscarriage of justice.” United

  States v. Shaid, 937 F.2d 228, 233 & n.7 (5th Cir. 1991) (citing Hill v. United States,

  368 U.S. 424, 428 (1962)). Errors of law and errors of fact do not provide a basis for

  collateral attack unless an error constitutes “a fundamental defect which inherently

  results in a complete miscarriage of justice.” United States v. Addonizio, 442 U.S. 178,

  185 (1979).

        In United States v. Davis, 139 S.Ct. 2319 (2019), the Supreme Court

  invalidated as unconstitutionally vague the residual clause of 18 U.S.C. § 924(c)’s
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  definition of “crime of violence.” After Davis, a predicate offense qualifies as a “crime

  of violence” only if it qualifies as a crime of violence under the force (or elements)

  clause, that it “has as an element the use, attempted use, or threatened use or

  physical force against the person or property of another,” under 18 U.S.C. §

  924(c)(3)(A). Davis was a new rule of constitutional law made retroactive to cases on

  collateral review by the Supreme Court. In re Thomas, 988 F.3d 783, 788 (4th Cir.

  2021). Thus, even on collateral review, a defendant’s § 924(c) conviction remains valid

  only if it relies on a predicate offense which is a crime of violence under the force

  clause. United States v. Thompson, No. 19-7586, 2021 WL 4521111, at *1 (4th Cir.

  2021) (unpublished).

        To determine when an offense qualifies as a crime of violence under the force

  clause, the court applies the categorical or modified categorical approach. United

  States v. Bryant, 949 F.3d 168, 172 (4th Cir. 2020). Where a “predicate statute ‘sets

  out a single (or ‘indivisible’) set of elements to define a single crime,” the categorical

  approach is used. Id. (quoting Mathis v. United States, 136 S.Ct. 2243, 2248 (2016).

  The Fourth Circuit has explained the categorical approach as follows:

        Under this approach, we focus on “the elements of the prior offense
        rather than the conduct underlying the conviction,” United States v.
        Cabrera-Umanzor, 728 F.3d 347, 350 (4th Cir. 2013), and ask whether
        those elements “necessarily require the use, attempted use, or
        threatened use of physical force,” United States v. Simms, 914 F.3d 229,
        233 (4th Cir. 2019). If the “minimum conduct necessary” to sustain a
        conviction under the predicate statute does not require the use,
        attempted use, or threatened use of force, see Castillo v. Holder, 776
        F.3d 262, 267 (4th Cir. 2015), then the offense “is not ‘categorically’ a
        crime of violence under the force clause.” Walker, 934 F.3d at 378
        (quoting Simms, 914 F.3d at 233). In undertaking this inquiry, however,
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        we must ensure that there is a “realistic probability,” rather than a
        “theoretical possibility,” that the minimum conduct would actually be
        punished under the statute. Moncrieffe v. Holder, 569 U.S. 184, 191, 133
        S.Ct. 1678, 185 L.Ed.2d 727 (2013) (quoting Gonzales v. Duenas-Alvarez,
        549 U.S. 183, 193, 127 S.Ct. 815, 166 L.Ed.2d 683 (2007)).

        The “modified” categorical approach is simply “a tool for implementing
        the categorical approach.” Descamps, 570 U.S. at 262, 133 S.Ct.
        2276; see also Mathis, 136 S. Ct. at 2249 (describing modified categorical
        approach as aid for determining “what crime, with what elements, a
        defendant was convicted of”). We apply this approach in the “ ‘narrow
        range of cases’ ” involving a “divisible” statute. Descamps, 570 U.S. at
        261, 133 S.Ct. 2276 (quoting Taylor v. United States, 495 U.S. 575, 602,
        110 S.Ct. 2143, 109 L.Ed.2d 607 (1990)).

        A divisible statute is one that lists “potential offense elements in the
        alternative,” and thus includes “multiple, alternative versions of the
        crime.” Id. at 260, 262, 133 S.Ct. 2276 (emphasis added). A statute that
        merely lists alternative means of committing a crime is not
        divisible. Mathis, 136 S. Ct. at 2249; see also Omargharib v. Holder, 775
        F.3d 192, 198 (4th Cir. 2014) (“[A] crime is divisible
        under Descamps only if it is defined to include multiple
        alternative elements (thus creating multiple versions of a crime), as
        opposed to multiple alternative means (of committing the same crime).
        Elements, as distinguished from means, are factual circumstances of the
        offense the jury must find unanimously and beyond a reasonable doubt.”
        (citations and internal quotation marks omitted)).

        If a court determines that the underlying statute is divisible, and that
        application of the modified categorical approach is therefore
        appropriate, then it may examine a limited set of documents, such as
        “the indictment, jury instructions, or plea agreement and
        colloquy,” Mathis, 136 S. Ct. at 2249, for the sole purpose of determining
        “which of the statute’s alternative elements formed the basis of the
        defendant’s prior conviction,” Descamps, 570 U.S. at 262, 133 S.Ct. 2276.
        And once a court has isolated the specific crime of conviction, it must
        apply the traditional categorical approach outlined above to determine
        whether that crime constitutes a “crime of violence” under § 924(c)’s
        force clause. See Mathis, 136 S. Ct. at 2249, 2256; cf. Mathis, 932 F.3d
        at 265 & n.23.

  United States v. Bryant, 949 F.3d 168, 172–73 (4th Cir. 2020).

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                                       ANALYSIS

  I.    Interstate Stalking, in violation of 18 U.S.C. § 2261A, without any
        aggravating enhancement, is no longer a crime of violence under 18
        U.S.C. § 924(c).

        Section 924(c) makes it a crime to use or carry a firearm during and in relation

  to, or to possess a firearm in furtherance of, a “crime of violence.” 18 U.S.C. §

  924(c)(1)(A). The statute defines a “crime of violence” as a federal felony offense that

  either (1) “has as an element the use, attempted use, or threatened use of physical

  force against the person or property of another,” 18 U.S.C. § 924(c)(3)(A) – known as

  the elements or force clause; or, (2) “by its nature, involves a substantial risk that

  physical force against the person or property of another may be used in the course of

  committing the offense,” 18 U.S.C. § 924(c)(3)(B) – known as the residual clause. In

  Davis, the Supreme Court determined the residual clause is unconstitutionally

  vague, following its decisions in Johnson v. United States, 135 S.Ct. 2551 (2015), and

  Sessions v. Dimaya, 138 S.Ct. 1204 (2018). Thus, only the force clause remains to

  define a crime of violence.

        To determine whether an offense qualifies as a crime of violence under the

  force clause, the Fourth Circuit applies the categorical approach or the modified

  categorical approach, depending on whether the statute sets out divisible alternate

  offenses or includes only alternate means of committing a single offense. E.g., United

  States v. McNeal, 818 F.3d 141, 152 (4th Cir. 2016). The categorical approach focuses

  “on the elements of the prior offense rather than the conduct underlying the

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   conviction.” United States v. Cabrera-Umanzor, 728 F.3d 347, 350 (4th Cir. 2013)

   (citation omitted). In a “narrow range of cases,” involving statutes that are comprised

   of “multiple, alternative versions of the crime,” i.e., a divisible statute, the modified

   categorical approach applies. Descamps v. United States, 570 U.S. 254, 261–62 (1990).

   When confronted with a divisible statute, the Court will review certain underlying

   documents, including the indictment, “to determine what crime, with what elements,”

   formed the basis of a defendant's conviction. Mathis v. United States, 136 S.Ct. 2243,

   2249 (2016) (citations omitted).

         Count Five, which Plunkett challenges now, is a conviction pursuant to 18

   U.S.C. § 924(j). The underlying crime of violence, as stated in the indictment, is

   interstate stalking, that is “travel in interstate commerce with the intent to kill,

   injure, harass, and intimidate another person” and, “as a result of such travel, placed

   [the victim] in reasonable fear of death or seriously bodily injury,” in violation of 18

   U.S.C. § 2261A(1), as charged in Count Four. 1 However, the statute can also be

   violated by other means. If, during the course of the conduct, the defendant “causes,

   attempts to cause, or would be reasonably expected to cause substantial emotional

   distress,” it is a violation of 18 U.S.C. § 2261A(1)(B). The body of § 2261A does not

   appear divisible, meaning each of these elements create alternative means of

   committing a violation, not separate offenses. Because “harass” and “causes . . .

   substantial emotional distress” do not necessarily involve force, the United States


   1The United States notes, however, Count Five did not reference or expressly incorporate
   Count Four.
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   does not contest Plunkett’s claim that his interstate stalking charge is no longer

   categorically a crime of violence. In accordance with Davis, it is not a viable predicate

   for a § 924(j) offense. For that reason, the United States does not contest that Plunkett

   is entitled to relief. 2

          The United States does note that had the indictment been charged differently,

   with the death-results element included, the interstate stalking offense would remain

   a crime of violence. It is impossible to commit a crime such as interstate stalking

   resulting in death without that offense categorically requiring the use of force. See In

   re Irby, 858 F.3d 231, 234 (4th Cir. 2017) (“one cannot unlawfully kill another human

   being without a use of physical force capable of causing physical pain or injury to

   another”); United States v. Mathis, 932 F.3d 242, 265 (4th Cir. 2019) (holding that

   Virginia's first-degree murder statute, Va. Code § 18.2-32, which mirrors the federal

   murder statute, categorically meets the requirements of the force clause); Burrage v.

   United States, 571 U.S. 204, 214 (2014) (“a phrase such as ‘results from’ imposes a

   requirement of but-for causation”); United States v. Hayes, 589 F.2d 811, 821 (5th Cir.

   1979) (holding that the “death results” provision of 18 U.S.C. § 242 incorporates

   general principles of causation and noting that death would not “result” from a

   Section 242 violation if the victim is struck by lightning while being detained

   pursuant to an illegal arrest); United States v. Lucas, 836 Fed.Appx. 142, 148-18 (4th



   2 Plunkett procedurally defaulted on his claims. In light of the analysis set forth in Section
   One, the United States waives its procedural defenses, including procedural default and any
   timeliness defense.
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   Cir. 2020), cert. denied, No. 20-7679, 2021 WL 1951984 (U.S. May 17, 2021). For this

   reason, the United States’ concession is limited to a violation of 18 U.S.C. § 2261A

   without any aggravating factors.


   II.   The Court should vacate the conviction on Count Five and issue
         an Amended Judgment. Resentencing is not necessary.

         For the above reasons, the United States respectfully asks the Court to vacate

   the conviction on Count Five and issue an Amended Judgment. A resentencing

   hearing is not warranted.

         Where an error of constitutional magnitude has occurred, “the goal of § 2255

   review is to place the defendant ‘in exactly the same position he would have been had

   there been no error in the first instance.’” United States v. Hadden, 475 F.3d 652, 667

   (4th Cir. 2007). Because habeas relief is equitable in nature, a district court “broad

   and flexible” power to “fashion an appropriate remedy.” United States v. Hadden, 475

   F.3d 652, 661 (4th Cir. 2007); see also Schlup v. Delo, 513 U.S. 298, 332 (1995); United

   States v. Garcia, 956 F.2d 41, 45 (4th Cir. 1992) (authorizing district court to

   resentence defendant to reflect specific performance of breached plea agreement

   rather than vacating conviction). To that end, Section 2255 lists four broad remedies

   a court may consider: (1) discharge the prisoner; (2) grant a new trial; (3) resentence;

   or (4) correct a sentence. 28 U.S.C. § 2255.

         There is no requirement the court conduct a new sentencing hearing if a

   conviction can merely be excised or the sentence corrected. United States v. Hadden,


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   475 F.3d 652, 669 (4th Cir. 2007). Ordinarily, the vacatur of a § 924(c) conviction

   would justify a resentencing hearing because, typically, the Court fashions a

   sentencing package. When it selects a sentence on the other counts, it takes into

   account the mandatory consecutive term on the Section 924(c) or 924(j) conviction.

   See, e.g., Dean v. United States, 137 S. Ct. 1170, 1178 (2017) (court may take

   consecutive Section 924(c) sentence into account when selecting sentence for the

   predicate count); United States v. Mobley, 833 F.3d 797, 801 (7th Cir. 2016) (a full

   resentencing authorizes district court to unbundle a sentencing package); United

   States v. Fowler, 749 F.3d 1010, 1016 (11th Cir. 2014) (“On direct appeal, we have

   routinely, without hesitation and as a matter of course, vacated entire sentences and

   remanded for resentencing on all surviving counts after vacating a conviction or

   sentence on some, but not all, of the counts.”); see also Davis, 139 S. Ct. at 2336

   (“[W]hen a defendant's § 924(c) conviction is invalidated, courts of appeals routinely

   vacate the defendant's entire sentence on all counts so that the district court may

   increase the sentences for any remaining counts if such an increase is warranted.”

   (internal quotation marks omitted)); United States v. Pepe, No. 16-4589, 2021 WL

   2287439, at *1 (4th Cir. June 4, 2021) (same). However, in this case, Counts One and

   Two also carry a mandatory minimum penalty of life imprisonment. Those counts,

   and their penalties, are undisturbed by the issues raised by Plunkett and cannot be

   increased or lowered in light of a vacatur of the § 924(j) count. Accordingly, there is

   no reason to vacate Plunkett’s existing sentence on those counts or to hold a new


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   sentencing hearing. Plunkett cannot be sentenced to any sentence on the remaining

   counts other than the life imprisonment sentences already imposed.



                                          CONCLUSION

          For the above reasons, this Court should vacate the conviction and sentence on

   Count Five and leave undisturbed the remaining counts.



                                                   Respectfully submitted,


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                                                   United States Attorney


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                               CERTIFICATE OF SERVICE

          I hereby certify that on this 7th day of January 2022, I electronically filed the

   foregoing Motion with the Clerk of the Court using the CM/ECF system, and caused

   a copy to be by first-class mail to:

                 Anthoine Plunkett
                 17734-058
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                                             /s/ Jennifer R. Bockhorst




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